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                     UNITED STATES DISTRICT COURT FOR THE

                               DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON                       Case No.
    TALCUM POWDER PRODUCTS                        MDL No. 2738 (MJS)(RLS)
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY
    LITIGATION

    This document relates to:
    SUSAN MARIE EPPERLY as Surviving
    daughter and Personal Representative of the
    Estate of CAROL LINN NEWMAN,
    Decedent
    Case No. 3:24-cv-05800-MAS-RLS



                                     NOTICE OF FILING
          Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short

    Form Complaints) that the Short Form Complaint and Jury Demand was filed on

    05/01/2024 on behalf of Susan Marie Epperly as Surviving daughter and Personal

    Representative of the Estate of Carol Linn Newman, Decedent.


    Dated: May 3, 2024
                                        Respectfully Submitted by

                                        /s/ Stephanie B. Sherman
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                              CERTIFICATE OF SERVICE
          I hereby certify that on May 3, 2024, a copy of the foregoing NOTICE OF

    FILING was filed via the Court’s CM/ECF electronic filing system. Notice of this

    filing will be sent by operation of the Court’s electronic filing system to all parties

    indicated on the electronic filing receipt. Parties may access this filing through the

    Court’s system.

                                             Respectfully Submitted,

                                        By: /s/ Stephanie B. Sherman
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